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                          Exhibit 17
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          Enhanced Voice Services
          (EVS): Market Update


          A special report based on GSA’s continuous LTE and 5G
          research programme




           May 2019




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                    Introduction
                     Enhanced Voice Service (EVS) technology is continuing to be steadily introduced
                     by operators and vendors, with a small ecosystem of device suppliers now also
                     supporting the technology. The number of telecoms operators known by GSA
                     to be investing in the technology has increased to 25 since our last report in
                     September 2018, with EVS deployments in Africa, Asia, Europe, and the USA.
                    The growing interest in EVS in the operator world has been reciprocated by
                     device launches by the vendors. We have managed to identify 169 EVS-enabled
 25 operators        devices in the market, all of them phones. This is a rise compared to the 153
  investing in       devices included in our September 2018 report. Enhanced voice services are
EVS around the
world, of which      often being marketed around the world using the terms ‘HD Voice Plus’ or
at least 21 offer   ‘Ultra HD Voice’.
  commercial
     services       As of May 2019:

                        •• 25 operators are known to have been investing in EVS demonstrations,
                           planned launches or launches.
                        •• At least 21 and possibly 23 of those operators have introduced EVS
                           services in their mobile networks.
                        •• 169 EVS enabled mobile handsets are currently available in the market,
                           from a set of 16 vendors.

                    Figure 1: Countries with live networks supporting EVS




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               EVS (Enhanced Voice Services) codec overview
               The EVS codec was developed within 3GPP as part of Release 12 and offers
               HiFi call quality for speech and audio alike. EVS is the first 3GPP conversational
               codec offering up to 20 kHz audio bandwidth, delivering speech quality that
               matches other audio input such as stored music. In addition, EVS increases call
               reliability and network efficiency due to its high robustness against packet loss.

               Operators investing in EVS around the world
               At present, GSA is aware of 25 telecom operators in the world that are or
               have been investing in EVS. At least 21 and possibly 23 of them already offer
               commercial services to their customers. Since the last report in September
               2018 GSA has identified six launches including A1 (Austria), Orange (Romania),
               Play (Poland), Sprint (USA), Vodacom (South Africa) and Vodafone (India). Two
               of those launches are subject to confirmation (Vodafone India and Sprint USA).
               Table 1: EVS deployment status (mauve text = addition or change of status since September
               2018 report)
                Country        Operator               EVS status                  EVS details

                Austria        A1                     Launched                    A1 launched EVS services in
                                                                                  October 2017

                China          China Mobile           Demonstration               China Mobile demoed EVS at
                                                                                  the GSMA 2017 Mobile World
                                                                                  Congress in Shanghai in June
                                                                                  2017.
                Germany        Vodafone               Launched                    Vodafone claimed to be the
                                                                                  first operator in Europe to
                                                                                  deploy EVS in the third quarter
                                                                                  of 2016.
                Germany        Deutsche               Launched                    T-Mobile launched its HD
                               Telekom                                            Voice Plus services based on
                                                                                  the Enhanced Voice Services
                                                                                  (EVS) codec in Dec. 2017.
                Germany        Telefonica (O2)        Launched                    Telefonica launched EVS in
                                                                                  August 2018.
                India          Vodafone               Launched*                   Vodafone launched Super
                                                                                  VoLTE in February 2018. *GSA
                                                                                  understands this is based
                                                                                  on EVS, offering ultra-HD call
                                                                                  quality, although this has
                                                                                  not been confirmed by the
                                                                                  operator.




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                Country        Operator               EVS status                  EVS details

                Japan          NTT DoCoMo             Launched                    NTT DoCoMo introduced EVS
                                                                                  into its LTE voice network in
                                                                                  May 2016.
                Japan          Softbank/Ymobile       Launched                    Softbank launched EVS in
                               Corp                                               March 2019.
                Netherlands    Vodafone Ziggo         Launched                    Vodafone activated EVS codec
                                                                                  on its LTE network in 2017.
                Norway         Telenor                Testing                     Telenor has been conducting
                                                                                  EVS lab tests. Commercial
                                                                                  launch is expected in 2019.
                Poland         Play (P4)              Launched                    Play is understood to have
                                                                                  introduced EVS to its network
                                                                                  in January 2019.
                Poland         T-Mobile Polska        Launched                    T-Mobile Poland launched
                               S.A                                                EVS in September 2017. The
                                                                                  service is marketed as HD
                                                                                  Voice +.
                Romania        Orange                 Launched                    Orange launched EVS as HD
                                                                                  Voice Plus in January 2019.
                Singapore      StarHub                Launched                    StarHub offers EVS under the
                                                                                  HD Voice+ brand.
                South Africa   Vodacom                Launched                    Launched its Super HD Voice
                                                                                  EVS service in October 2018.
                Sweden         TeliaSonera            Launched                    TeliaSonera launched EVS in
                                                                                  2017. At present, it is available
                                                                                  on seven phones offered by
                                                                                  the operator.
                Sweden         Telenor Sweden         Launched                    Telenor started offering HD
                                                                                  Voice Plus in June 2018.
                Switzerland    Swisscom               Launched                    Swisscom began offering EVS
                                                                                  to its customers in 2017.
                Switzerland    Sunrise                Launched                    Sunrise Communications
                               Communications                                     offers EVS to its customers.
                Taiwan         Chunghwa               Launched                    Chunghwa offers EVS and
                               Telecom                                            EVS compatible phones to its
                                                                                  customers.
                Turkey         Turkcell               Launched                    Turkcell has confirmed to GSA
                                                                                  that is offers EVS services.
                UK             EE                     Launched                    EE launched EVS in September
                                                                                  2017.




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                   Country        Operator              EVS status                  EVS details

                   USA            Sprint                Launched*                   *Understood to be launched.
                                                                                     Sprint stated in October
                                                                                    2018 that its VoLTE service
                                                                                     would be EVS-enabled. VoLTE
                                                                                     services were introduced in
                                                                                     selected locations in Q4 2018.
                   USA            T-Mobile              Launched                    T-Mobile US launched EVS
                                                                                    technology in 2016.
                   USA            Verizon Wireless      Launched                    Verizon has EVS in its network
                                                                                    and it is available to certain
                                                                                    devices.



                  EVS devices
                 The increased global demand for ultra-high definition voice services has
                 stimulated vendors’ interest in EVS. Eleven major telecommunication equipment
                 manufacturers already have at least one commercially available EVS device.
169 EVS-enabled Samsung has established itself as an EVS market leader with 68 models
  devices – all  (including regional variants) compatible with the technology. Alcatel, Apple,
phones – offered
 by 16 vendors   Google, HTC, Huawei, LG, Motorola, Nokia, Panasonic, Realme, Sharp, Sony,
                 Xiaomi and ZTE have also enabled some of their latest smartphones to support
                 EVS.
                  Table 2: EVS supported devices by vendor Source: GSA
                   Vendor                         Device
                   Alcatel                        A20 Fierce
                   Apple                          iPhone 8 A1863 (Qualcomm)
                   Apple                          iPhone 8 Plus A1864 (Qualcomm)
                   Apple                          iPhone 8 A1905 (Intel)
                   Apple                          iPhone 8 Plus A1897 (Intel)
                   Apple                          iPhone 8 A1906 (Qualcomm) (Japan)
                   Apple                          iPhone 8 Plus A1898 (Qualcomm) (Japan)
                   Blackberry                     Key2
                   HMD                            Nokia 8
                   HTC                            U11 U-3w with IP67 5.5 inch for China
                   HTC                            U11 601HT with IP67 5.5 inch for Japan
                   HTC                            U11 with IP67 5.5 inch for Sprint
                   HTC                            U11 WiMAX 2+ HTV33 with IP67 5.5 inch for KDDI
                   HTC                            U11 with IP67 U-3f 5.5 inch for AT&T, TMO
                   HTC                            U11 with IP67 U-3u 5.5 inch for Europe Asia ME
                   HTC                            U11 with IP67 5.5 inch for Verizon
                   HTC                            Google Pixel 2
                   HTC                            U11 Life




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                Vendor                      Device
                HTC                         U11 Plus
                Huawei                      P10 Standard Edition VTR-L09 5.1 inch
                Huawei                      P10 Premium Edition VTR-AL00 5.1 inch
                Huawei                      P10 Plus Standard Edition VKY-L29 5.5 inch
                Huawei                      P10 Plus Premium Edition VKY-AL00 5.5 inch
                Huawei                      Mate 10 Pro BLA-L09
                Huawei                      Mate 10 Pro BLA-L29
                Huawei                      Mate 20 Pro
                Huawei                      P10 VTR-TL00
                Huawei                      P10 VTR-L29
                Huawei                      P10 Plus VKY-L09
                Huawei                      P20
                LG                          Aristo
                LG                          Aristo 2
                LG                          G5 VS987
                LG                          G5 H831
                LG                          G5 H860
                LG                          G5 H860N
                LG                          G5 H820
                LG                          G5 H868
                LG                          G5 H850
                LG                          G5 F700L
                LG                          G5 F700S
                LG                          G5 AS992
                LG                          G5 Speed H858
                LG                          G5 H830 for T-Mobile US
                LG                          G5 LS992 Titan for Sprint
                LG                          LG G5 VS987 for Verizon
                LG                          LG G5 US992 for US Cellular
                LG                          G6 US997 5.7 inch
                LG                          G6 H871/H872/H872PR/H873 5.7 inch
                LG                          G6 G600S 5.7 inch
                LG                          G6 LS993/AS993 5.7 inch
                LG                          G6 VS998/VS998B/VS998G/VS998P/VS998T/VS998W
                LG                          G6 G600K 5.7 inch
                LG                          G6 G600L 5.7 inch
                LG                          G6 H870 5.7 inch
                LG                          G5 F700K 5.3 inch
                LG                          G6 LH870K 5.7 inch
                LG                          G7
                LG                          H870S G6 5.7 inch
                LG                          H870DS G6 5.7 inch
                LG                          Google Pixel 2 XL
                LG                          K20 Plus
                LG                          Stylo 3 Plus




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                Vendor                      Device
                LG                          V20
                LG                          V30
                Motorola                    Z2 Force Edition
                OnePlus                     OnePlus 6
                Realme                      Realme 3 Pro
                Panasonic                   P85
                Samsung                     SGH-N516 Galaxy S6 Edge TD-LTE SC-04G (Samsung Zero)
                Samsung                     SM-G9208 Galaxy S6 TD-LTE
                Samsung                     SM-G9209 Galaxy S6 for China Telecom
                Samsung                     SM-G920D/SGH-N520 Galaxy S6 TD-LTE SC-05G
                Samsung                     SM-G920I Galaxy S6 LTE-A
                Samsung                     SM-G920W8 Galaxy S6 LTE-A
                Samsung                     SM-G920X Galaxy S6 LTE-A
                Samsung                     SM-G9250 Galaxy S6 Edge
                Samsung                     SM-G925I Galaxy S6 Edge LTE-A
                Samsung                     SM-G925J/SCH-J510 Galaxy S6 TD-LTE SCV31
                Samsung                     SM-G925P Galaxy S6 Edge TD-LTE
                Samsung                     SM-G925R4 Galaxy S6 Edge LTE-A
                Samsung                     SM-G925W8 Galaxy S6 Edge LTE-A
                Samsung                     SM-G925Z/SGH-V504 Galaxy S6 Edge TD-LTE 404SC
                Samsung                     Galaxy S6 Edge SCV31 for KDDI
                Samsung                     SM-G935J Galaxy S7 Edge WiMAX 2+ SCV33
                Samsung                     SM-G935D/SGH-N611 Galaxy S7 Edge SC-02H
                Samsung                     SM-G935V Galaxy S7 Edge XLTE
                Samsung                     SM-G935T Galaxy S7 Edge (T Mobile US)
                Samsung                     SM-G935A Galaxy S7 Edge
                Samsung                     SM-G935R4 Galaxy S7 Edge
                Samsung                     SM-G935FD Galaxy S7 Edge
                Samsung                     SM-G9350 Galaxy S7 Edge
                Samsung                     SM-G935P Galaxy S7 Edge
                Samsung                     SM-G935F Galaxy S7 Edge
                Samsung                     SM-G935K Galaxy S7 Edge
                Samsung                     SM-G935S Galaxy S7 Edge
                Samsung                     SM-G9308 Galaxy S7
                Samsung                     SM-G930AZ Galaxy S7
                Samsung                     SM-G930R4 Galaxy S7
                Samsung                     SM-G930FD Galaxy S7
                Samsung                     SM-G9300 Galaxy S7
                Samsung                     SM-G930P Galaxy S7
                Samsung                     SM-G930F Galaxy S7
                Samsung                     SM-G930A Galaxy S7
                Samsung                     SM-G930T Galaxy S7 (T Mobile US)
                Samsung                     SM-G930V Galaxy S7 XLTE
                Samsung                     SM-G930S Galaxy S7
                Samsung                     SM-G935U Galaxy S7 Edge




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                Vendor                       Device
                Samsung                      SM-G950F Galaxy S8 5.8 inch
                Samsung                      SM-G955F Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G955S Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G950P Galaxy S8 5.8 inch
                Samsung                      SM-G955T Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G950U Galaxy S8 SM-G950U1/SM-G950W 5.8 inch
                Samsung                      SM-G950T Galaxy S8 5.8 inch
                Samsung                      SM-G955V Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G950V Galaxy S8 5.8 inch
                Samsung                      SM-G955A Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G955U Galaxy S8 Plus SM-G955U1 SM-G955W 6.2inch
                Samsung                      SM-G950A Galaxy S8 5.8 inch
                Samsung                      NTT DoCoMo SC-02J SM-G950D Galaxy S8 5.8 inch
                Samsung                      NTT DoCoMo SC-03J SM-G955D Galaxy S8 Plus 6.2 inch
                Samsung                      Galaxy S8 Duos SM-G950FD 5.8 inch
                Samsung                      Galaxy S8 Duos SM-G9500 5.8 inch
                Samsung                      Galaxy S8 Plus Duos SM-G955FD 6.2 inch
                Samsung                      SM-G9550 Galaxy S8 Plus Duos 6.2 inch
                Samsung                      SM-G950N Galaxy S8 5.8 inch South Korea
                Samsung                      SM-G950J Galaxy S8 WiMAX 2+ SCV36 5.8 inch
                Samsung                      SM-G955J Galaxy S8 Plus WiMAX 2+ SCV35 6.2 inch
                Samsung                      SM-G955N Galaxy S8 Plus 6.2 inch
                Samsung                      SM-G9508 Galaxy S8 Duos 5.8 inch
                Samsung                      SM-G9558 Galaxy S8 Plus 6.2 inch
                Samsung                      Galaxy Note 8
                Samsung                      Galaxy Note 9
                Samsung                      Galaxy S9
                Samsung                      Galaxy S9 Plus
                Samsung                      Galaxy Note 9
                Sharp                        Aquos Zeta DoCoMo SH-09D
                Sharp                        Aquos Zeta NTT DoCoMo SH-01G
                Sharp                        AQUOS ZETA SH-01H
                Sharp                        Aquos R SoftBank
                Sony Mobile                  Xperia X Performance F8131
                Sony Mobile                  Xperia X Performance F8132
                Sony Mobile                  Xperia XZ F8332
                Sony Mobile                  Xperia XZ F8331
                Sony Mobile                  Xperia X Performance 502SO
                Sony Mobile                  Xperia X Performance SO-04H
                Sony Mobile                  Xperia XZ SO-01J for NTT DoCoMo
                Sony Mobile                  Xperia XZ 601SO
                Sony Mobile                  Xperia XA1 G3116 5 inch
                Sony Mobile                  Xperia XA1 G3112 5 inch
                Sony Mobile                  Xperia XA1 G3123 5 inch
                Sony Mobile                  Xperia XZ Premium G8141 5.5 inch




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                Vendor                       Device
                Sony Mobile                  Xperia XZ Premium G8142 5.5 inch
                Sony Mobile                  Xperia X Performance WiMAX 2+ SOV33 5 inch
                Sony Mobile                  NTT DoCoMo SO-04J Xperia XZ Premium 5.5 inch
                Sony Mobile                  Xperia XA1 G3121 5 inch
                Sony Mobile                  Xperia XZ1
                Sony Mobile                  Xperia XZ1 Compact
                Sony Mobile                  Xperia XZ2
                Sony Mobile                  Xperia XZ2 Compact
                Sony Mobile                  Xperia XZ3
                T-Mobile                     REVVL
                T-Mobile                     REVVL Plus
                Xiaomi                       Hongmi Note 4/Redmi Note 4 2016050
                Xiaomi                       Hongmi Note 4 Premium Edition/Redmi Note 4 2016050
                Xiaomi                       Hongmi Note 4 Standard Edition/Redmi Note 4
                Xiaomi                       Hongmi Note 4/Redmi Note 4 Exclusive 2016050 CN
                ZTE                          Blade Z Max


               Summary
               Although it is a long way from becoming a ubiquitous technology, the last 12
               months have finally seen EVS adoption start to grow. We expect more network
               operators to introduce services in the coming months and to see more new
               smartphones supporting the codec.




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               NOTE: Errors and omissions excepted ntact



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